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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    www.flsb.uscourts.gov

In re: Nanci Martinez                                             Case No. 20-12993-RAM
                                                                  Chapter 13


                  Debtor
____________________________/
                                   CERTIFICATE OF SERVICE

       I certify that a true copy of Debtor’s Notice of Withdrawal of Documents [DE 28], dated
 March 17, 2020, was served as follows:
On March 17, 2020, by electronic notification to the following:

Nancy K. Neidich
e2c8f01@ch13miami.com, ecf2@ch13miami.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

and on March 17, 2020, by U.S. Mail to the following:

       Cach, LLC/Resurgent Capital Services
       PO Box 10497
       Greenville, SC 29603

       Capital One Bank USA, NA
       P.O. Box 30281
       Salt Lake City, UT 84130

       Celink
       P.O. Box 40724
       Lansing, MI 48901

       Citibank, N.A.
       P. O. Box 688923
       Des Moines, IA 50368-8923

       Commonwealth Financial Systems
       245 Main Street
       Scranton, PA 18519

       Credit One Bank, N.A.
       585 Pilot Road
       Las Vegas, NV 89119

       Harmony Villa, Inc.
       c/o Jonathan R. Rubin
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      9360 Sunset Drive, Suite 285
      Miami, FL 33173

      Midland Funding
      350 Camino De La Reina, Suite 100
      San Diego, CA 92108

      Mount Sinai Physician Practices
      PO Box 403429
      Miami Beach, FL 33140

      Portfolio Recovery Associates - Disputes
      140 Corporate Blvd.
      Norfolk, VA 23502

      Sterling Em Svc of Miami Beach
      PO Box 975213
      Dallas, TX 75397

DATED: March 17, 2020                     Respectfully submitted,

                                          LEGAL SERVICES OF GREATER MIAMI, INC.
                                          ___/s/ Mandy L. Mills___________
                                          Mandy L. Mills, Esq., Attorney for Debtor
                                          Fla. Bar No.: 0041654
                                          Legal Services of Greater Miami, Inc.
                                          4343 W. Flagler Street, Ste. 100
                                          Miami, FL 33134
                                          (T) & (F): (305) 438-2437
                                          MMills@LegalServicesMiami.org
